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                             EXHIBIT 1
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

 TOTAL REBUILD, INC.,                      §
                                           §   Civil Action No. 6:15-cv-01855-RFD-CBW
       Plaintiff/Counterclaim-Defendant,   §
                                           §            JUDGE DOHERTY
 vs.                                       §
                                           §   MAGISTRATE JUDGE WHITEHURST
 PHC FLUID POWER, L.L.C.                   §
                                           §         JURY TRIAL DEMANDED
       Defendant/Counterclaim-Plaintiff.
                                           §



  DEFENDANT PHC FLUID POWER, L.L.C.’S MEMORANDUM IN SUPPORT OF ITS
  MOTION TO COMPEL DISCOVERY RESPONSES FROM TOTAL REBUILD, INC.
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        In support of its Motion to Compel Discovery Responses from Total Rebuild, Inc.

 (“Motion”), Defendant/Counterclaim-Plaintiff PHC Fluid Power, L.L.C. (“PHC”) hereby states

 as follows:

 I.     INTRODUCTION

        After this Court granted PHC’s first motion to compel and ordered Plaintiff Total Rebuild,

 Inc. (“Total”) to (1) submit its computer system for a forensic examination and (2) pay PHC’s

 attorneys’ fees incurred with the motion, Total continues to delay and provide improper and

 insufficient responses to PHC’s discovery requests. Total fails to identify even a single plausible

 theory of infringement for any PHC product; provides evasive discovery responses; and conceals

 relevant information, including information related to PHC’s counterclaim for inequitable

 conduct, which likely will render unenforceable the patent-at-issue. As demonstrated below,

 Total is simply indifferent to its obligations under the Federal Rules of Civil Procedure and the

 Local Rules of this Court. Accordingly, this motion to compel should be granted with additional

 attorney fees awarded and levied upon Total to be paid by a date certain.

 II.    RELEVANT FACTS

        PHC filed its first motion to compel discovery responses from Total (“First Discovery

 Motion”) on February 14, 2017. (Dkt. 85.) The First Discovery Motion sought, among other

 things, documents relating to PHC’s claim for inequitable conduct, which could render

 unenforceable the entire ’428 Patent. The First Discovery Motion was filed after PHC obtained

 evidence from non-party Cory Polk comprising Total’s own invalidating sales.

        This Court ruled on the First Discovery Motion on March 10, 2017 and ordered Total to

 (1) submit its computer systems for a forensic examination to test, among other contentions, that

 Total had deleted all electronically stored information for prior years under its purported

 document retention plan; (2) certify that there is no additional or supplemental information

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 available at this time with respect to PHC’s Interrogatory No. 4; and (3) pay a portion of PHC’s

 attorneys’ fees incurred in preparing and submitting the First Discovery Motion. (Dkt. 97.)

 Following the First Discovery Motion, PHC believed Total would be more cooperative with

 regard to discovery. However, Total has doubled down on its evasive strategies.

            Since the Court’s ruling, PHC’s counsel has contacted Total’s counsel on numerous

 occasions regarding a significant number of deficiencies. Total has largely failed to provide the

 requested privilege logs, documents, and information.

            In a March 24, 2017 Letter, PHC requested “that Total provide a privilege log to PHC”

 and that Total supplement its response to Request No. 10 to include “any design schematics,

 drawings, bills of material, or photographs for any of its systems.” Exhibit 21. As discussed

 below, PHC seeks Total’s privilege log because it appears Mr. Lavergne, the inventor of the ’428

 Patent, transmitted prior art to the attorney that prosecuted the ’428 Patent during prosecution of

 the application that resulted in the ’428 Patent. This supports PHC’s inequitable conduct claim

 because it shows Mr. Lavergne was aware of his duty to disclose material information to the

 USPTO. Similarly, the requested design documents support PHC’s inequitable conduct claim

 because they demonstrate that the pre-August 7, 2007 systems Total offered for sale and sold

 were material to patentability. The design documents are also important because they clarify

 Total’s theory of infringement of the ’428 Patent by PHC. This is so because Total alleges that

 all post-August 7, 2007 systems practice the invention of the ’428 Patent, and thus, these systems

 can be charted against the claim elements of the ’428 Patent. Request No. 10 (served on August

 5, 2016) requests Total:

            Produce all non-privileged documents, electronically stored information, and
            tangible things in your possession, custody, and/or control during any time


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     All exhibits referenced herein are attached to the Motion.

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        between 2000 and the present that refer to or reference safety systems for testing
        high-pressure devices that include an explosion-proof safety housing.

 (Dkt. 85-6.)

        The March 24th letter also identified several deficiencies with Total’s infringement

 contentions, including its identification of PHC systems that could never infringe the ’428 Patent

 because required claim elements were missing and Total’s baseless assertion of claims 13, 18,

 and 19 of the ’428 Patent. Exhibit 2. This was an effort by PHC to streamline this case to only

 discovery that is related to plausible claims of infringement, not simply a wide-ranging fishing

 expedition.

        On April 4, 2017, PHC’s counsel followed-up on its March 24, 2017 letter asking when it

 could expect to receive Total’s privilege log. Exhibit 3.

        On April 5, 2017, PHC’s counsel sent Total’s counsel an email (“April 5, 2017 Email”)

 requesting any settlement agreement that had been reached in the related case, Total Rebuild, Inc.

 v. Streamline Hose & Fittings, Inc., No. 6:15-cv-01172 (W.D.La.) (“Streamline Action”), now

 pending before this Court. Exhibit 4.

        On the afternoon of Friday, April 7, 2017, the day before the Court ordered forensic

 examination of its computer system, Total produced 71 quotes and invoices from prior to August

 7, 2007, the critical date of the ’428 Patent. At least one of the invoices was for a “bunker

 system” that included an “Air op bleed valve” and a “Control center outside test bunker” wherein

 “All pressure to stay in bunker pumps, bleed valve, hose, ect.” Exhibit 5. The invoice strongly

 supports PHC’s claim of inequitable conduct and should have been produced long ago. The

 invoices actually refute several statements Total made in opposition to the First Motion to

 Compel. See e.g., Dkt. 93-2, (“Total’s document retention policy is to shred business documents

 for the oldest year every year and keep the previous seven years of records as instructed by

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 Total’s certified public account.”); Dkt. 93 at 6 (“All relevant responsive documents related to

 Total, the ’428 Patent, Total’s sales of products derived from the ’428 Patent, communications

 regarding the ’428 Patent, as well as its sales or offers for sale and communications regarding the

 present, and any such prior art known of or possess by Total which relate to the ’428 Patent in

 any way has already been produced.”)).

        According to the statements made in Total’s response to the First Discovery Motion and

 the statements of PHC’s counsel at the telephonic hearing on that motion, these 71 quotes and

 invoices should not exist. See, e.g., March 9, 2017 Transcript, p. 7 (Dkt. 109) (Mr. Manuel:

 “Yes, Your Honor. This is Chase Manuel. That is how they have been instructed by their CPA

 to kind of handle their documents, but they keep it all in physical format. So once they’re done

 with invoice documents, those documents, they put them in -- save up for, in case they get

 audited. And then after that seven-year time period has passed [they are shredded].”).

        The documents produced by Total on April 7, 2017 included a REDACTED MATERIAL




        On April 13, 2017, PHC’s counsel sent to Total’s counsel a letter requesting a discovery

 conference as Total had not produced a privilege log or supplemented its response to Request No.

 10 (“April 13, 2017 Letter”). Exhibit 6.




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        On April 14, 2017, PHC’s counsel sent Total’s counsel a letter noting further deficiencies

 with Total’s infringement contentions. Exhibit 7. The Patent Rules adopted for this case provide

 that the Total’s infringement contentions must provide “[a] chart identifying specifically where

 each element of each asserted claim is found within each Accused Instrumentality ….” (Dkt. 51-

 1, p. 6.) The letter notes that Total’s identification of the “sensor for sensing” limitation, which

 exists in each of the remaining asserted claims of the ’428 Patent, in the alleging infringing

 devices cannot be correct. Total identifies that element as follows:




 Id. However, as the letter notes, Total’s assertion that the “safety interlock system … must be

 activated to begin a test” misses the mark. The claim requires the “sensor coupled to said bleed

 valve to activate said bleed valve ….”       This deficiency also underscores PHC’s need for

 documents responsive to Interrogatory No. 10, which as discussed above, requests the diagrams

 and schematics of Total’s devices. The diagrams and schematics of Total’s devices will clarify

 Total’s theory of infringement because Total asserts that these devices practice, incorporate, or

 reflect all claims of the ’428 Patent. (Dkt. 85-23, p. 2.) At this time, almost two years after the

 litigation was commenced, Total has not identified a plausible theory as to how a single asserted

 claim of the ’428 Patent could be infringed by any PHC device.


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         On April 21, 2017, following up on its April 13, 0217 Letter, PHC’s counsel again asked

  Total’s counsel for its availability for a discovery conference. Exhibit 8. Total’s counsel

  responded later that day indicating that they were available for a discovery conference on April

  26, 2017.   Exhibit 9.    However, on April 26, 2017, just before the scheduled discovery

  conference, Total’s counsel sent PHC’s counsel a letter in which it asserted that “Total does not

  have any designs schematics or drawings for its systems in its custody and control,” and that

  “there are no specific bill of materials which are responsive to the limitation ‘that refer to or

  reference safety systems for testing high-pressure devices that include an explosion-proof safety

  housing.’” Exhibit 10. Total did, however, produce a deficient privilege log. Id. Total stated

  that, because there were no responsive documents and it had produced a privilege log, a

  discovery conference was not needed. Id.

         PHC’s counsel followed up later that day with another deficiency letter (“April 26, 2017

  Deficiency Letter”). Exhibit 11. In the letter, PHC’s counsel requested that Total supplement its

  response to Interrogatory No. 15, which requested Total to provide the revenues, profits, and all

  expenses associated with its system. Id. This request for supplementation was in direct response

  to Total’s assertion that it did not have any responsive bills of material. PHC’s counsel also

  requested that Total supplement its Response to Interrogatory No. 13, which requests Total to

  identify each product which “embodies, practices, or uses any of the alleged inventions claimed

  in the ’428 Patent and identify the specific claim(s) of the ’428 Patent that are embodied,

  practiced, or used in or by such product or service ….” Total has withdrawn a substantial

  number of the claims of the ’428 Patent it originally asserted against PHC but has not indicated

  which of its systems practice the remaining claims. Total’s identification of systems that it

  alleges practice the remaining asserted claims of the ’428 Patent is relevant to the amount of



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  Total’s alleged damages. The identification will also clarify Total’s theory of infringement

  because the identified systems can be charted against the remaining asserted claims of the ’428

  Patent.

            Most importantly, the April 27th letter again requested Total supplement its privilege log.

  Id. As the letter noted, while most of the entries in the privilege log included dates, the privilege

  log included the following entry:




  Id. The entry is important to PHC’s inequitable conduct claim because it may further evidence

  Mr. Lavergne’s intent to deceive the USPTO during prosecution of the application that resulted

  in the ’428 Patent. If Mr. Lavergne transmitted the “Oilfield industry articles” to Thomas Phung,

  the attorney the prosecuted the patent application during the pendency of the application, the

  entry would further evidence that Mr. Lavergne knew of his duty to disclose material

  information to the USPTO but failed to do so. Total must provide the date of the transmission

  and the articles transmitted. This information is not protected from disclosure, because they

  appear to be documents in the public domain.

            After receiving no response from Total, PHC’s counsel sent to Total’s counsel an email

  requesting its availability for a discovery conference on May 3, 2017. Exhibit 12. Total’s

  counsel replied on May 5, 2017 by stating that “[w]e are in the process of reviewing and

  formulating a response to your April 26, 2017 letter. We do not believe a telephone conference

  will be necessary.” Id. Notwithstanding Total’s assertion that a discovery conference would not

  be needed, PHC’s counsel replied later that day requesting a discovery conference be scheduled

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  anyway. Id. PHC’s counsel indicated that the discovery conference would be canceled if it was

  not needed. Id. As of the filing of this motion, Total has neither supplemented its discovery

  responses nor provided a date for a discovery conference.

  III.   ARGUMENT

         A.      Total Must Certify that It Has Produced All Quotes and Invoices for Its
                 Systems Created Prior to August 7, 2007.

         As discussed at length in PHC’s First Discovery Motion, PHC obtained evidence from

  non-party Cory Polk of Total’s own pre-August 7, 2007 offers for sale and sales of systems that

  invalidate the ’428 Patent. (Dkt. 85.) These documents strongly support PHC’s claim that the

  entire patent is unenforceable under the doctrine of inequitable conduct. Not only did Total fail

  to produce these documents, but Total provided PHC with misleading discovery responses in an

  attempt to conceal their existence.

         The day before the court-ordered forensic examination of Total’s computer system, Total

  produced 71 additional pre-August 7, 2007 quotes and invoices. At least one of the invoices was

  for a “bunker system” and strongly supports PHC’s claim for inequitable conduct. Exhibit 5.

  Total indicated that the documents were discovered after they “again reviewed the documents

  and things of Total,” id., but offered no explanation as to why these documents were not

  produced earlier.

         PHC served its first discovery requests on Total on August 5, 2016, over 9 months ago.

  Total has had more than enough time to produce its pre-August 7, 2007 quotes and invoices.

  This is especially true in light of Total’s alleged 7-year document retention policy, under which

  no such documents should exist. Total’s production of highly-relevant, responsive documents,

  including pre-August 7, 2007 quotes and invoices, only when PHC requests a discovery

  conference or on the eve of a court-ordered forensic examination is highly suspect and indicates


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  that its 7-year document retention policy is a farce. Moreover, given these documents and the

  significant amount of data collected by the independent computer expert, PHC posits that the 7-

  year document retention policy allegedly tied to electronic records will likely show that to be a

  farce as well. Accordingly, PHC requests this Court order Total to certify under oath that there

  are no other pre-August 7, 2007 quotes or invoices for any Total system in its possession,

  custody, or control.

         B.      Total Must Supplement Its Response to Interrogatory No. 13.

         Interrogatory No. 13 requests Total:

         Identify (by product name, model number, or other indicia) each product ever
         made, sold, offered for sale, or licensed by Plaintiff or any prior assignee that
         embodies, practices, or uses any of the alleged inventions claimed in the ‘428
         Patent and identify the specific claim(s) of the ‘428 Patent that are embodied,
         practiced, or used in or by such product or service, and identify whether said
         products were marked with the ‘428 Patent pursuant to 35 U.S.C. § 287.

  (Dkt. 85-6.) Total’s original response referred to Interrogatory No. 3, which referred to a series

  of invoices.   Id.     Total has not, however, updated its response to indicate which systems

  (identified by invoice or other means) correspond to which claims of the ’428 Patent. Again,

  Total has withdrawn several of the asserted claims of the ’428 Patent in this lawsuit. This

  information is necessary for PHC to understand Total’s theory of infringement, to the extent it

  has one, and further identify Total’s alleged damages and PHC’s potential exposure, if any, in

  this case. PHC requests that Total be ordered to update its responses to this discovery request.

         C.      Total Must Supplement Its Response to Interrogatory No. 15.

         Interrogatory No. 15 requests:

         For any products identified in response to Interrogatory No. 11, provide the
         revenues and profits generated from the sale of such products and all expenses
         used in the calculation of such profits.




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  Id. Total has provided information related to only revenues, not profits or expenses. PHC

  requests Total be ordered to update its response to this discovery response.

         D.      Total Must Correct Its Privilege Log.

         Total’s privilege log includes the following two entries:




  Exhibit 10. The first entry is deficient because it does not include a description of the withheld

  correspondences. The second entry is deficient because it does not include a date. Further, the

  “Oilfield industry articles” referred to in the second entry are not themselves protected from

  disclosure, because they appear to be documents in the public domain. PHC requests Total be

  ordered to update these entries in its privilege log and immediately produce the “Oilfield industry

  articles” referenced in the privilege log to PHC.

         E.      Total Should Be Sanctioned for Its Discovery Conduct.

         PHC requests that Total be sanctioned pursuant to Fed. R. Civ. P. 37(d)(1) because Total

  has failed to properly respond to PHC’s discovery requests, as discussed above. PHC notes that,

  pursuant to Fed. R. Civ. P. 37(d)(1)(B), it has attempted to confer with Total in an effort to

  obtain the discovery responses, but Total has refused to provide a date when it is available for a

  conference.




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         PHC also requests that Total be sanctioned pursuant to Local Rule 37.1, which provides

  that “[i]f the court finds that opposing counsel has willfully refused to meet and confer … the

  court may impose such sanctions as it deems proper.” On April 26, 2017, PHC requested a

  discovery conference with Total.    Exhibit 11. A week later, after not receiving any response

  from Total, PHC again requested Total’s availability for a discovery conference. Exhibit 12.

  Total then asserted that a discovery conference was not necessary as it planned to “provide

  certain supplemental answers to the interrogatories inquired about in [PHC’s] April 26th letter

  next week.” Id. However, in light of Total’s evasive answers, also on May 5, 2017, PHC’s

  counsel again requested that a discovery conference be scheduled. As of the filing of this motion,

  Total has neither supplemented its discovery responses nor provided a date and time for a

  discovery conference.

  IV.    CONCLUSION

         Total continues to play fast and loose in this litigation by providing vague and

  inconsistent discovery responses. Total’s modus operandi throughout this litigation, apart from

  asserting dubious document retention policies, has been to delay and provide inadequate last-

  minute discovery responses when it can no longer delay.             Total’s conduct cannot be

  countenanced. This Motion should be granted.

         Dated: May 12, 2017

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this, the 12th day of May 2017, a copy of the

  foregoing was served on counsel of record listed below, via the Court’s CM/ECF system:


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